    Case 3:20-cv-00269-JPG Document 2 Filed 03/13/20 Page 1 of 1 Page ID #24


                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE SOUTHERN DISTRICT OF ILLINOIS



                        Plaintiff

                           v.
                                                          Case
                                                          Number:

                   Defendant(s)



                  Notice Regarding Magistrate Judge Jurisdiction
                         and Consent/Non-Consent Form

        Each party to the above-captioned civil matter shall select one of the following two
options indicating whether the party will consent or will not consent to having a
Magistrate Judge conduct any and all proceedings in this case, including trial and entry
of final judgment, in accordance with the provisions of Title 28 U.S.C. Section 636(c).

Check One:
☐    The party or parties listed below consent to having a Magistrate Judge conduct
     any and all proceedings in this case. (Note: Selecting this option does not affect
     your ability to challenge this court’s subject matter or personal jurisdiction).
☐      The party or parties listed below do not consent to having a Magistrate Judge
       conduct any and all proceedings in this case.

Name of Party or Parties (list):

Printed Name of Party                  Signature of Party or Attorney   Date




Submitted By: ________________________________        Dated: _________________________
    Note: Corporations may execute this election only by counsel.
